Case o-25-/sf/lo-ast DOC Ll Filed 10/Od/25 Entered LO/O0/2Z5 14. 11:04

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CLERK
United States Bankruptcy Court for the: U.S. SE eh R
£ 01
Eastern District of New York Men oak
(State)
Case number (if known): Chapter 711 as aA LI Check if this is an
RB OT =b P 291 amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor’s name 3876 Carrel LLC

2. All other names debtor used
in the last 8 years

Include any assumed names,
trade names, and doing business ==,
as names

3. Debtor’s federal Employer _83-4669483

identification Number (EIN) 9 7 TTT

4. Debtor’s address Principal place of business Mailing address, if different from principal piace
of business
3876 Carrel Bivd 15 Newport Rd
Number Street Number Street —
P.O. Box
Oceanside NY 11572 Island Park, NY 11558
City State ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business
NASSAU

County

Number Street

City State ZIP Coce

5. Debtor's website (URL)

Weororation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
C) Partnership (excluding LLP)
C) other. Specify:

6. Type of debtor

Official Form 201 Voluntary Petition for Non-Individuats Filing for Bankruptcy page 1

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3876 Carrel LLC

Debtor

Case number (if known),

Name

7. Describe debtor’s business

s. Under which chapter of the
Bankruptcy Code is the
debtor filing?

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

lf more than 2 cases, attacha
separate list.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. if more than 1,
attach a separate list.

Official Form 201

A. Check one:

C1] Health Care Business (as defined in 11 U.S.C. § 101(27A))
single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C) Railroad (as defined in 11 U.S.C. § 101(44))

LJ Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q) Commodity Broker (as defined in 11 U.S.C. § 101(6))

LJ Clearing Bank (as defined in 11 U.S.C. § 781(3))

(J None of the above

B. Check aif that apply:

C) Tax-exempt entity (as described in 26 U.S.C. § 501)

(I Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

U) investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http//www.uscourts.gov/four-digit-national-association-naics-codes .

Check one:
v

[chapter 7
() Chapter 9
uw Chapter 11. Check ail that apply.

L) Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and every 3 years after that).

C] The debtor is a smal! business debtor as defined in 11 U.S.C. § 101(51D). If the
debior is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if ail of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

L) A pian is being filed with this petition.

Cj Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

LJ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankrupicy under Chapter 11 (Official Form 201A) with this form.

(] The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

12b-2.
C) Chapter 12
alto
Yes. District EDNY When 4/17/2023 Case number 8-23-71296-ast
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
Sno
Cl Yes. Debtor Relationship _
District When

MM / DD /YYYY
Case number, if known

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Debtor 3876 Carrel LLC

Name

Case number (if known),

11. Why is the case filed in this §— Check aif that apply:

district? . wa a : os o. thie ated!
Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

LIA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have Wo
possession of any real (3 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
property or personal property
that needs immediate
attention?

Why does the property need immediate attention? (Check aif that apply.)

CJ it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety

What is the hazard?

L) it needs to be physically secured or protected from the weather.

CY it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

L] Other

Where is the property?.

Number Street

City State ZIP Code

wv. property insured?
No

(J Yes. insurance agency _

Contact name

Phone

Be Statistical and administrative information

13. Debtor’s estimation of Check one:
available funds CL Funds will be available for distribution to unsecured creditors.
After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

W409

QO) 1,000-5,000 ( 25,001-50,000

14, a number of OQ) 50-99 1 5,001-10,000 C) 50,001-100,000
Se 0) 100-199 Q) 10,001-25,000 Q) More than 100,000
L} 200-999

C,$0-$50,000

WH a50 001-$100,000
C} $100,001-$500,000
CI $500,001-$1 million

15. Estimated assets

Official Form 201

CI $1,000,001-$10 million

LJ $10,000,001-$50 million
LJ $50,000,001-$100 million
C2 $100,000,001-$500 million

Voluntary Petition for Non-Individuals Filing for Bankruptcy

CQ $500,000,001-$1 billion

LI $1,000,000,001-$10 billion
C) $10,000,000,001-$50 billion
C) More than $50 billion

page 3
Case o-25-/sf/lo-ast DOC Ll Filed 10/Od/25 Entered LO/O0/25 14:11:04

Debtor 3876 Carrel LLC Case number (if known) __
Name
oe a aeons © $1,000,001-$10 million 0 $500,000,001-$1 billion
is. Estimated liabilities $50,001-$100,000 (2 $10,000,001-$50 million (2 $1,000,000,001-$10 billion
Q $100,001-$500,000 CI $50,000,001-$100 million Q $10,000,000,001-$50 billion
(© $500,001-$1 million © $100,000,001-$500 million O) More than $50 billion

Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature Of « The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of

debtor petition.

= {have been authorized to file this petition on behalf of the debtor.

m | have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.
Executed on 10/6/2023

MM / DD /YYYY
~

Risse —~—y Daniel Anthony Tineo _
Signature of authorized rSpresentative of debtor Printed name
Title President

18. Signature of attorney x con

Signature of attorney for debtor MM /DD /YYYY

Printed name

Firm name

Number Street ”
City State ZIP Code

Contact phone Email address

Bar number State

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4

Case o-25-/sf/lo-ast DOC Ll Filed 10/Od/25 Entered LO/O0/25 14:11:04

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| 3876 Carrel LLC

Debtor Name

United States Bankruptcy Court for the: Eastern District of

|

(State)

Case number (if known):

Official Form 202
Declaration Under Penalty of Perjury for Non-individual Debtors 12/15

a

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the documeni,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, conceaiing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

PIII vnctaration and signature

iam the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

C1 Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

we Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204

OO OOocDO

Other document that requires a declaration

i declare under penalty of perjury that the foregoing is true and correct.

MM/DD/YYYY Signature of individual Signing on behalf of debtor

Danie! Anthony Tineo

Printed name

President
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

Case o-25-/5/1o0-ast

Debtor name 3876 Carrel LLC

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| United States Bankruptey Court for the: Eastern es
| ° |
| Case number (if known): | (] Check if this is an
im amended filing
Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property 4126

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?
Q No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

@ Yes. Fill in all of the information below.

ee ius Creditors Who Have Secured Claims

2. List in alphabetical order ali creditors who have secured claims. If a creditor has more than one
secured claim, list the creditor separately for each claim.

Column A Column B
Amount of claim: Value of collateral
Do notdeductihe value that supports this

of collateral. claim
ee Creditor's name Describe debtor's property that is subject to a lien
US Bank Residential $815,856 ¢ $574,000
Creditor's mailing address
161 5th StE
Si. Paul, MN 55101 Describe the lien
MORTGAGE
Creditor's email address, if known is the creditor an insider or related party?
No
CQ ves
Date debt was incurred 2/2020 gfnvene else liable ont this claim?
fs No
oe" oFaccount sez CO Yes. Fill aut Schedule H: Codebtors (Official Form 206H).
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
ae property? Check ail that apply.
wl No q
C1 Yes. Specify each creditor, including this creditor, 3 ees
and its relative priority. oO Disputed
Pl Creditorsname ~ Describe debtor's property that is subject to a lien
$ $
Creditor's malling addrass
Describe the fien
Creditor's email address, if known is the creditor an insider or related party?
O ne
CJ ves
Date debt was incurred ooo else liable on this claim?
io
=e of account LE] Yes. Fill out Schedule H: Codebtors (Official Form 206H).
Do multiple creditors have an interest in the Aé of the petition filing date, the claim is:
same property? Check all that apply.
C2 No Oo Contingent
O Yes. Have you already specified the relative CY uUntiquidated
priority? Disputed
(2 No. Specify each creditor, including this
creditor, and its relative prarity.
CI Yes. The relative priority of creditors is
specified onlines 00000000 neni
3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional ¢ $815,856
Page, if any.
Official Form 206D Schedule D: Creditors Who Have Cialms Secured by Property page 1 of _1_

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
www.nyeb.uscourts.gov

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): 3876 Carrel LLC CASE NO.:

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner’s best knowledge, information and belief:

|NOTE: Cases shall be deemed “Related Cases” for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same:
(ii) are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partners hip;
(v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general
partners; or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that
was or is included in the property of another estate under 11 U.S.C. § 541(a).]

[_]NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
|/ | THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: 8-23-71296-ast JUDGE; Alan S. Trust DISTRICT/DIVISION: EDNY

CASE STILL PENDING (Y/N):.N [If closed| Date of closing: 10/02/2023

CURRENT STATUS OF RELATED CASE: Dismissed __
(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASE:

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE STILL PENDING (Y/N): N [ff closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED
IN SCHEDULE “A” OF RELATED CASE:

(OVER)

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DISCLOSURE OF RELATED CASES (cont’d)

3. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE STILL PENDING (Y/N): N [Uf closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED
IN SCHEDULE “A” OF RELATED CASE:

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days
may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.
TO SE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

J am admitted to practice in the Eastern District of New York (Y/N): N

CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any
time, except as indicated elsewhere on this form.

ec {=>

i
Signature of Debtor's Attorney Signature of Pro < Debtor/Petitioner

15 Newport Rd
Mailing Address of Debtor/Petitioner

Island Park, NY 11558
City, State, Zip Code

Email Address

5165107097
Area Code and Telephone Number

Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment
of a trustee or the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
otherwise result.

USBC - 17 Rev 09/15/11

Case o-25-/sflo-ast DOC Ll Filed 10/Od/25 Entered LO/O0/25 L4i11:04

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In Re:
3876 Carrel LLC Case No.

Chapter 11

Debtor(s)

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that
the creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.

Dated: 10/6/2023

— a ——~ Ss soy
Debtor c
Joint Debtor
Attorney for Debtor

USBC-44 : Rev. 3/17/05

Case o-25-/sf/lo-ast DOCL Filed 10/Od/25 Entered LO/O0/25 L4i11:04

US Bank
101 5th St E
St. Paul, MN 55101-1898

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re: 3876 Carrel LLC

Debtor(s)
Xx

AFFIRMATION OF FILER(S)

All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following
information:

Name of Filer: Daniel Anthony Tineo

Address: 15 Newport Rd Island Park, NY 11558
Email Address:
Phone Number: 5165107097

Name of Debtor(s): 3876 Carrel LLC

CHECK THE APPROPRIATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

I PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
THE FOLLOWING: As President | filed the bankruptcy on behalf of my ilc

LE I DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.

FEE RECEIVED:

I WAS NOT PAID.
LJ I WAS PAID.

Amount Paid: $ 0

I/We hereby affirm the information above under the penalty of perjury.

~

Dated: 10/6/2023 Sa
iler’s Signature

